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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


MONER SALEH and JOSE HENRIQUEZ,

                                        Plaintiffs,                        21 Civ. 9005 (PAE)
                        -v-
                                                                           ORDER
 DIGITAL REALTY TRUST, INC. et al.,

                                        Defendants.


PAUL A. ENGELMAYER, District Judge:

       In light of this case’s referral to mediation, Dkt. 13, the initial pretrial conference,

initially scheduled for January 13, 2022 at 10:00 a.m., Dkt. 8, is adjourned pending the outcome

of that mediation.

       SO ORDERED.

                                                               PaJA.�
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                                                               PAUL A. ENGELMAYER
                                                               United States District Judge
Dated: January 4, 2022
       New York, New York
